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 AO 442 (Rev. 11/11) Arrest Warrant
                                                                 II                                                          DEA-TFO JOHNSON


                                          UNITED STATES DISTRICT COURT
                                                                         for the
                                                                                                                              SEP 2 4 2020
                                                            Eastern District of Tennessee
                                                                                                                  Clerk, U. S. District Cou1t
                   United States of America                                                                      Eastern District of Tennessee
                                                                                                                              At Knoxville
                                 V.                                           )
                                                                              )        Case No.    3:20-MJ -    I \ '-'\ )
                                                                              )
                                                                              )
                                                                              )
                HEAVYN BREANNE THOMAS
                                                                              )
                              Defendant


                                                           ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        HEAVYN BREANNE THOMAS
who is accused of an offense or violation based on the following document filed with the court:

0     Indictment          0    Superseding Indictment            0 Information            0 Superseding Information             ref Complaint
0 Probation Violation Petition             0 Supervised Release Violation Petition                   0 Violation Notice         O Order of the Court

This offense is briefly described as follows:
Combine, conspire, confederate, and agree with others to knowingly, intentionally and without authority, distribute 400 grams or
more of a mixture and substance containing a detectable amount of fentanyl, a Schedule II controlled substance, one kilogram or
more of a mixture and substance containing a detectable amount of heroin, a Schedule I controlled substance, and 50 grams or
more of methamphetamine, a Schedule II controlled substance.




Date:         09/24/2020



City and state:       Knoxville, Tennessee                                                  Debra C. Poplin, U.S. Magistrate Judge
                                                                                                       Printed name and title


                                                                       Return

          This warrant was received on (date)             OCi - ,_ Y - )..D       , and the person was arrested on (date)
at (city and state)   l<.,No)'t/! vL--6 J T Iv


Date:
                                                                                                   ;j/esting o j f ~ 1 r e



                                                                                                       Printed name and title



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